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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                             §
                                                      §
 V.                                                   §       CASE NO. 6:07cr85
                                                      §
 JEREMY CHAD GUILLIAMS (08)                           §

             ORDER ADOPTING THE REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE


        By order, the undersigned referred this matter to the Honorable John D. Love, United States

 Magistrate Judge, at Tyler, Texas, for administration of a guilty plea under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Judge Love conducted a hearing in the form and manner

 prescribed by Federal Rule of Criminal Procedure 11 and the Honorable John D. Love issued his

 Report and Recommendation of the United States Magistrate Judge [Clerk’s doc. #254]. The

 Magistrate Judge recommended that the Court accept Defendant’s guilty plea.             He further

 recommended that the undersigned finally adjudge Defendant as guilty to Count One of the

 Information filed against Defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

 that the Report and Recommendation should be accepted. It is accordingly ORDERED that the

 Report and Recommendation [Clerk’s doc. #254] of the United States Magistrate Judge are

 ADOPTED. Defendant’s guilty plea are conditionally ACCEPTED by the Court at this time.




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        It is further ORDERED that, in accordance with Defendant’s guilty plea and the magistrate

 judge’s findings and recommendation, Defendant, Jeremy Chad Guilliams, is hereby adjudged as

 GUILTY to Count One of the charging Information, conditioned upon the Court’s final

 acceptance of the guilty plea at sentencing.


        SIGNED this 21st day of February, 2008.




                                                       ____________________________________
                                                       MICHAEL H. SCHNEIDER
                                                       UNITED STATES DISTRICT JUDGE




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